
342 S.E.2d 891 (1986)
316 N.C. 374
Bobby J. CHASTAIN and Wife, Gloria T. Chastain
v.
Elizabeth D. WALL.
No. 47P86.
Supreme Court of North Carolina.
April 7, 1986.
A.B. Harrington, III, Sanford, for defendant.
Gerald E. Shaw, Sanford, for plaintiffs.

ORDER
Upon consideration of the petition filed by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. § 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 7th day of April 1986."
